      Case 5:20-mj-00044-MJF Document 4 Filed 05/06/20 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

IN THE MATTER OF THE SEARCH                   Case No. 5:20-mj-44-MJF
OF 4068 FAIRBANKS DRIVE,
CHIPLEY, FLORIDA 32428                        Filed Under Seal


      MOTION REQUESTING AN ORDER SEALING THE
  SEARCH AND SEIZURE WARRANT, APPLICATION AND ALL
                RELATED DOCUMENTS

      The United States of America requests this Court to issue an Order

sealing the SEARCH AND SEIZURE WARRANT, APPLICATION AND

ALL RELATED DOCUMENTS in this case, and in support of this motion

states as follows:

      1.     The Search Warrant, Application and all related documents

concern an ongoing criminal investigation and the public revelation of the

documents could severely hamper law enforcement’s ability to continue its

investigation.

      2.     The United States further moves the Court that the Search

Warrant, Application and all related documents in this case shall remain

sealed until May 6, 2021, unless otherwise extended by the Court upon the

government’s motion. The Clerk of the Court, however, shall provide one
     Case 5:20-mj-00044-MJF Document 4 Filed 05/06/20 Page 2 of 2




certified copy of the Search Warrant, application and all related documents to

the United States Attorney for the Northern District of Florida.

                                       LAWRENCE KEEFE
                                       United States Attorney

                                       __s//Michelle Daffin___________
                                       Michelle Daffin
                                       Assistant United States Attorney
                                       Florida Bar No. 0640761
                                       1001 East Business Hwy 98, Ste 2
                                       Panama City, FL 32401
                                       (850) 767-5006
                                       michelle.daffin@usdoj.gov

                                  ORDER

      The government’s motion is granted.

      DONE AND ORDERED this ______ day of May, 2020.
